      Case 2:12-cr-00185-TLN Document 151 Filed 09/22/15 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     ROBB CHEAL
6
7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:12-cr-185 TLN
                                                  )
11                              Plaintiff,        )   STIPULATION AND ORDER TO CONTINUE
                                                  )   STATUS CONFERENCE TO OCTOBER 29,
12         v.                                     )   2015, AT 9:30 A.M.
                                                  )
13   ROBB CHEAL,                                  )   Date: September 24, 2015
     RYAN CHEAL,                                  )   Time: 9:30 a.m.
14   ROBERT CARRILLO,                             )   Judge: Hon. Troy L. Nunley
                                                  )
15                              Defendants.       )
                                                  )
16
17           The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for September 24, 2015, at 9:30 a.m., to October 29, 2015, at 9:30 a.m.
19           Defense counsel requires the continuance to consult with their clients about discovery,
20   and to conduct investigation. Defense counsel also requires further time to meet and consult
21   with each other. Finally, Defense counsel requires further time to meet and confer with their
22   clients regarding plea agreements that the government has proposed, and to propose counter
23   offers to the government.
24           Counsel and the defendants agree that the Court should exclude the time from today
25   through October 29, 2015, when it computes the time within which trial must commence under
26   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
27
28

      Stipulation to Continue                         -1-                                  12-cr-185 TLN
       Case 2:12-cr-00185-TLN Document 151 Filed 09/22/15 Page 2 of 3


1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: September 22, 2015                     Respectfully submitted,
                                                   HEATHER E. WILLIAMS
5
                                                   Federal Defender
6
7                                                  /s/ M.Petrik__________
                                                   MICHAEL PETRIK, Jr.
8                                                  Assistant Federal Defender
                                                   Attorneys for Robb Cheal
9
10
     DATED: September 22, 2015
11
                                                   /s/ M.Petrik for_______
12                                                 CHRIS COSCA
                                                   Attorney for Ryan Cheal
13
14
     DATED: September 22, 2015
15
                                                   /s/ M.Petrik for_______
16                                                 OLAF HEDBERG
                                                   Attorney for Robert Carrillo
17
18
     DATED: July 28, 2015                          BENJAMIN B. WAGNER
19                                                 United States Attorney

20                                                 /s/ M.Petrik for_______
                                                   JASON HITT
21
                                                   Assistant U.S. Attorney
22
23
24
25
26
27
28

      Stipulation to Continue                        -2-                                   12-cr-185 TLN
      Case 2:12-cr-00185-TLN Document 151 Filed 09/22/15 Page 3 of 3


1                                                ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8            The Court orders the status conference rescheduled for October 29, 2015, at 9:30 a.m.
9    The Court orders the time from the date of the parties stipulation, up to and including October
10   29, 2015, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   DATED: September 22, 2015
13
14
15
16                                                Troy L. Nunley
                                                  United States District Judge
17
18
19
20
21
22
23
24
25
26
27
28

      Stipulation to Continue                         -3-                                    12-cr-185 TLN
